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      UNITED STATES BANKRUPTCY COURT                                   NOTICE OF CHANGE OF ADDRESS
      District of Maryland (Greenbelt)
      Name of Debtor:                       Case Number:
      Gladstone A Dainty                    13-21911




      Name of Creditor:
      HSBC Bank USA, National Association as Trustee for
      Ellington Loan Acquisition Trust 2007-2, Mortgage Pass-
      Through Certificates, Series 2007-2
      Name of Current Servicer of account:                                              COURT USE ONLY

      Nationstar Mortgage, LLC
      Name and Address where notices should be sent:                X Check this box if you are changing the address
      Nationstar Mortgage, LLC                                      that notices will go to.
      PO Box 619096
      Dallas, TX 75261-9741


      Telephone Number: 877-343-5602
      Name and Address where payments should be sent (if            X Check this box if you are changing the address
      different from above):
                                                                    that payments will go to.
      Nationstar Mortgage, LLC
      PO Box 619094
      Dallas, TX 75261-9741


                                                                      Check this box if the account number has
                     1. Account Number: 3026
                                                                    changed.



          2. Signature
             Check the appropriate box.
             I am the creditor.
             I am the creditor's authorized agent (Attached copy of power of attorney, if any.)
             I am the trustee, or the debtor.
             I am a guarantor, surety, indorser, or other codebtor.

                 /s/ Michael Daniels                                      Date: 04/01/2015
                 Michael Daniels - Assistant Secretary




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                            UNITED STATES BANKRUPTCY COURT
                                                         District of Maryland (Greenbelt)
                                                                           Chapter 11 No. 13-21911
 In re:                                                                    Judge: Judge Thomas J. Catliota
 Gladstone A Dainty
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that on March 26, 2015, I have served a copy of this Notice and all attachments to the following by U.S. Mail, postage pre paid,
 and have noticed the US Bankruptcy Court by U.S. Mail, postage pre paid.
 Debtor:                    Gladstone A Dainty
                            17551 Eleanor Ln
                            Upper Marlboro, MD 20774-8926



 Debtor's Attorney:         James Greenan
                            McNamee, Hosea, et. al.
                            6411 Ivy Lane
                            Suite 200
                            Greenbelt, MD 20770


                                                                           /s/ Bill Taylor - Member of 4 S Technologies, LLC,
                                                                           Authorized Agent for Nationstar Mortgage LLC,
                                                                           through Walz Group as mailing agent




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